Case 1:15-cv-02760-AJT-TRJ Document 11-1 Filed 08/17/15 Page 1 of 3 PageID# 65




                                            EXHIBITA

       Notice Re: Need to Preserve Evidence Relevant to Formaldehyde Use/Testing in
 Lumber Liquidators’ Laminate Flooring Products Originating in China


          On [DATE], Lumber Liquidators, Inc. (“Lumber Liquidators”) was ordered by a judge

of the United States District Court for the Eastern District of Virginia to preserve evidence
of any kind (including electronic documents, such as e-mails) that may be relevant to a

consolidated lawsuit pending against Lumber Liquidators, In Re: Lumber Liquidators

Chinese-Manufactured Flooring Products Marketing, Sales Practices, and Products Liability

Litigation, MDL No. 1:15-md-02627-AJT-TRJ (E.D. Va.). The lawsuit alleges that Lumber

Liquidators sells laminated wood flooring products in the United States that emit

formaldehyde at levels exceeding the limits set by the California Air Resources Board

(“CARB”). Specifically, the claims in the lawsuit apply to laminate flooring products made
with medium density fiberboard (“MDF”) produced in China. The lawsuit also alleges

that Lumber Liquidators falsely advertises all of its Chinese-manufactured laminated flooring

products as compliant with CARB’s regulations, and that Lumber Liquidators is liable for fraud,

negligence, breach of contract, breach of warranty, and other alleged violations of law. Lumber

Liquidators strongly disputes these allegations, nonetheless, the law obligates Lumber

Liquidators to preserve evidence that may be relevant to this litigation; therefore, in addition to
requiring its agents, employees, and others under its control to preserve relevant evidence,

Lumber Liquidators is also asking third parties to preserve documents in accordance with this

notice.

                The types of documents, data and tangible things (“evidence”) that Lumber

 Liquidators has been ordered to preserve include, but are not limited to, the following:

         Evidence related to the sourcing, manufacture, and sale of Chinese-made MDF used in

          laminated flooring products offered for sale by Lumber Liquidators, including financial

          records and documents showing the specifications and manufacturing process of such
Case 1:15-cv-02760-AJT-TRJ Document 11-1 Filed 08/17/15 Page 2 of 3 PageID# 66




       MDF.

      Documents and other evidence related to any tests of formaldehyde emissions from any

       products or components of products containing Chinese-made MDF used in laminated

       flooring products offered for sale by Lumber Liquidators, including communications with

       Lumber Liquidators employees or agents concerning testing of formaldehyde emissions.

      Documents related to compliance with CARB’s formaldehyde emissions as it relates to

       MDF used in products manufactured for, distributed to, sold to, or sold by Lumber

       Liquidators, including any related communications with Lumber Liquidators employees

       or agents. This includes, but is not limited to, documents related to the preparations made

       by or on behalf of Lumber Liquidators to meet the CARB formaldehyde emissions

       standards as those standards apply to Chinese-made laminated flooring products.

      Documents related to Lumber Liquidators’ quality assurance measures, quality control

       measures, site inspections, or any other oversight by Lumber Liquidators, or it agents

       with respect to any facilities used to produce or test MDF laminated flooring products

       made in China.

      Documents and other evidence related to Lumber Liquidators’ indoor air quality

       testing program. Relevant information includes, but is not limited to,

       communications with customers, communications with Lumber Liquidators

       (including its attorneys, consultants, and agents), communications with other

       laboratories, consultants, or entities, test results, samples, Jog records, and Jab

       analyses.

       The Court’s Order extends to documents dating back to January 1, 2009, or earlier if the

documents pertain to important issues in the lawsuits, such as Lumber Liquidators’ preparation

for the implementation of the CARB regulations governing formaldehyde emission levels from

flooring made with MDF.

       Until further notice, you, your employees, your agents, and any other individuals or

entities within your control must preserve any and all documents, data, and tangible things in

                                                  2
Case 1:15-cv-02760-AJT-TRJ Document 11-1 Filed 08/17/15 Page 3 of 3 PageID# 67




your possession, custody or control that contain information that may be relevant to the lawsuits,

as described above.

       “Documents, data, and tangible things” is to be interpreted broadly to include: writings;

records; files; correspondence; reports; memoranda; calendars; diaries; minutes; electronic

messages; voicemail; E-mail; telephone message records or logs; computer and network activity

logs; hard drives; backup data; removable computer storage media such as tapes, disks, and

cards; printouts; document image files; Web pages; databases; spreadsheets; software; books;

ledgers; journals; orders; invoices; bills; vouchers; checks; statements; worksheets; summaries;

compilations; computations; charts; diagrams; graphic presentations; drawings; films; charts;

digital or chemical process photographs; video; phonographic tape; or digital recordings or

transcripts thereof; drafts; jottings; and notes. Information that serves to identify, locate, or link

such material, such as file inventories, file folders, indices, and metadata, is also included in this

definition.

       “Preservation” is to be interpreted broadly to accomplish the goal of maintaining the

integrity of all documents, data, and tangible things reasonably anticipated to be relevant to the

above-mentioned lawsuits. Preservation includes taking reasonable steps to prevent the partial or

full destruction, alteration, testing, deletion, shredding, incineration, wiping, relocation,

migration, theft, or mutation of such material, as well as negligent or intentional handling that

would make material incomplete or inaccessible. If your business practices involve the routine

destruction, recycling, relocation, or mutation of such materials, you must, to the extent

practicable for the pendency of the related cases, either halt such business processes, sequester or

remove such material from the business process, or arrange for the preservation of complete and

accurate duplicates or copies of such material, suitable for later discovery if requested.

              Thank you for your cooperation.




                                                   3
